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     Securities and Exchange Commission v. Total Wealth Management, Inc., et al.,
                USDC, SD of California, Case No. 15-cv-226 BAS (DHB)

                                            INDEX OF EXHIBITS


     Exhibit                                    Description                        Page No.
     Number.

           A                   Detailed timeslips: February through June 2015       1
                               for the Receiver and her staff

            B                  Summary of Receiver's fees by timekeeper for the     82
                               application period which include hourly rates

            C                  Summary of work by task performed by Receiver        85
                               and her staff, total costs for each task by month
                               during the application period




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